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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

  VIRAL STYLE, LLC,

              Plaintiff,
  v.                                            Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

              Defendants.
                                       /

                                 EXHIBIT J

                                     TO

                                COMPLAINT
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